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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :       Case No. 21-CR-38 (CRC)
       v.                                   :
                                            :
RICHARD BARNETT                             :
also known as “Bigo Barnett,”               :
                                            :
              Defendant.                    :



    UNOPPOSED MOTION FOR AN EXTENSION OF TIME TO FILE RESPONSES

       On February 5, 2023, the defendant filed post-trial motions pursuant to Fed. R. Crim. P. 29

and 33. See ECF Nos. 174-175. The government’s response is currently due on February 21, 2023.

       Between the two motions, the defendant raises over twenty different arguments to which

the United States intends to respond. Meanwhile, trial in this case lasted two weeks and produced

a lengthy record that requires significant time to review. In order to provide the Court with the

benefit of a thorough but concise response to each of the arguments in the defendant’s motions,

the United States respectfully requests a two-week extension of time to respond to both motions.

The government proposes a new due date of March 7, 2023.

       The United States has consulted with counsel for the defendant, who does not object.




                                                    Respectfully submitted,

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                                                    United States Attorney
                                                    D.C. Bar Number 481052

                                                    /s/ Alison B. Prout
                                                    ALISON B. PROUT
                                                    Assistant United States Attorney
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                             UNITED STATES DISTRICT COURT
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UNITED STATES OF AMERICA                     :
                                             :       Case No. 21-CR-38 (CRC)
        v.                                   :
                                             :
RICHARD BARNETT                              :
also known as “Bigo Barnett,”                :
                                             :
               Defendant.                    :



                                            ORDER
        Upon consideration of the United States’ motion seeking a two-week extension of time to

file its responses to the defendant’s post-trial motions pursuant to Rule 29 and Rule 33, see ECF

Nos. 174-175, it is hereby

        ORDERED, that the motion is GRANTED.

        ORDERED, that the United States must file its responses no later than March 7, 2023.




Date:                                        _________________________________________
                                             THE HONORABLE CHRISTOPHER R. COOPER
                                             UNITED STATES DISTRICT JUDGE




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